                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                            )
KIERAN O’HARA, on behalf of himself and all )
other similarly situated individuals,       )
                                            )
                Plaintiff,                  )
                                            )
        vs.                                 )
                                            )        Civil Action No. 1:15-cv-14139-MLW
DIAGEO-GUINNESS, USA, INC.; & DIAGEO )
NORTH AMERICA, INC.                         )
                                            )
                Defendants.                 )
                                            )

                                    MOTION TO DISMISS

         Defendants Diageo-Guinness, USA, Inc. and Diageo North America, Inc. (collectively,

“Diageo”) respectively move, pursuant to Rules 12(b)(1), 12(b)(6), and 23(d)(1)(D), to dismiss

the Amended Complaint and to dismiss or strike the class allegations.

         The grounds for this motion are set forth in the accompanying Memorandum of Law in

Support of Motion to Dismiss.

         WHEREFORE, Diageo respectfully requests that the Court dismiss the Amended

Complaint and dismiss or strike the class allegations.

Dated: March 21, 2016

                                             Respectfully submitted,

                                             DIAGEO-GUINNESS, USA, INC. and DIAGEO
                                             NORTH AMERICA, INC.,

                                             By their attorneys,

                                             /s/ Euripides D. Dalmanieras
                                             Samuel A. Danon (Pro Hac Vice)
                                             Douglas C. Dreier (Pro Hac Vice)



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                             CERTIFICATE OF CONSULTATION

         Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel have conferred and

attempted in good faith to resolve or narrow the issues presented by this Motion to Dismiss.

                                                      /s/ Euripides D. Dalmanieras
                                                      Euripides D. Dalmanieras

                                  CERTIFICATE OF SERVICE

         I, Euripides D. Dalmanieras, hereby certify that this document filed through the CM/ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on the above date.


                                                      /s/ Euripides D. Dalmanieras
                                                      Euripides D. Dalmanieras




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